            Case 8:19-cv-01009-TDC Document 70 Filed 09/18/20 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


DOROTHY RENEE JACKSON, on Behalf of
Herself and Others Similarly Situated,

                Plaintiff,                                   Case No.: 8:19-cv-01009-TDC

v.

JTM CAPITAL MANAGEMENT, LLC
WEINBERG MEDIATION GROUP LLC
ROYAL ASSET MANAGEMENT, INC.

                Defendants.


                       JOINT STATEMENT OF UNDISPUTED FACTS

       Pursuant to the Court’s Case Management Order filed on April 4, 2019 (Doc. 6), Plaintiff

Dorothy Renee Jackson (“Plaintiff”) and Defendant JTM Capital Management, LLC (“JTM”) have

conferred and submit this Joint Statement of Undisputed Facts for the purposes of JTM’s motion

for summary judgment.

       1.       JTM is in the business of purchasing debts from originating creditors.

       2.       On or about July 7, 2017, JTM entered into a Collection Services Agreement with

defendant Weinberg Mediation Group LLC (“Weinberg”) to collect certain accounts placed with

Weinberg by JTM (the “Weinberg CSA”).

       3.       On or about August 8, 2018, JTM entered into a Collection Services Agreement

with defendant Royal Asset Management, Inc. (“RAM”) to collect certain accounts placed with

RAM by JTM (the “RAM CSA”).
            Case 8:19-cv-01009-TDC Document 70 Filed 09/18/20 Page 2 of 3



       4.       On or about May 30, 2017, JTM acquired Plaintiff’s alleged Mid America Bank

and Trust account ending in 9346 (the “First Debt”) as part of one portfolio of accounts purchased

by JTM (the “First Portfolio”).

       5.       On or about May 30, 2017, JTM acquired Plaintiff’s alleged Mid America Bank

and Trust account ending in 4534 (the “Second Debt”) as part of a separate portfolio of accounts

purchased by JTM (the “Second Portfolio”).

       6.       In February 2018, JTM placed the First Portfolio with RAM for collection.

       7.       In February 2018, JTM placed the Second Portfolio with Weinberg for collection.

       8.       RAM and Weinberg did not have Collection Agency licenses in the State of

Maryland at the time of JTM placed the debts with RAM and Weinberg.

       9.       JTM did not place any telephone calls, send letters or otherwise directly

communicate or attempt to directly communicate with Plaintiff.

       10.      During the time period referenced in the Complaint, JTM was a licensed Collection

Agency in the State of Maryland.

       11.      JTM currently is a licensed Collection Agency in the State of Maryland.




                                                2
          Case 8:19-cv-01009-TDC Document 70 Filed 09/18/20 Page 3 of 3



Dated: September 18, 2020

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